23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 1 of
                                       17
     23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 2 of
                                            17
Debtor Name   _______________________________________________________                  Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?

    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?



              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                             $ __________
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash received from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.                                                         $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
        Report the total from Exhibit D here.

    22. Net cash flow
        Subtract line 21 from line 20 and report the result here.                                                         + $ __________
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
        Report this figure as the cash on hand at the beginning of the month on your next operating report.               = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                       $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
     23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 3 of
                                            17
Debtor Name   _______________________________________________________                    Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                      $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?                                                                ____________

    27. What is the number of employees as of the date of this monthly report?                                                   ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?                                $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                  $ ____________

    30. How much have you paid this month in other professional fees?                                                          $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                         $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ ____________           –   $ ____________
                                                                                               =   $ ____________
    32. Cash receipts
                                                                                               =
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                                 –                             =
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                       $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________



Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
     23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 4 of
                                            17
Debtor Name   _______________________________________________________                  Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

         38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

         39. Bank reconciliation reports for each account.

         40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

         41. Budget, projection, or forecast reports.

         42. Project, job costing, or work-in-progress reports.




Official Form 425C                      Monthly Operating Report for Small Business Under Chapter 11                          page 4
                                23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 5 of
                                                                       17


      CASE NAME:   Piedra Mala Contracting, LLC
      CASE NUMBER: 23-51662


                                              CASH ACCOUNT RECONCILIATION
                                               MONTH OF December
BANK NAME                                         PMC DIP          BOSA Texas Partners          BOSA Texas Partners          First Citizens
ACCOUNT NUMBER                                                                     3338                                                       5451
ACCOUNT TYPE                                  OPERATING               OPERATING                    Deposit Account              OPERATING                          TOTAL
BANK BALANCE                                           78,918.25                      -40.58                         47.31                    -309.08                  $78,615.90
DEPOSITS IN TRANSIT                                                                                                                                                         $0.00
OUTSTANDING CHECKS                                      3,306.00                                             1,550.00                                                   $4,856.00
ADJUSTED BANK BALANCE                                $75,612.25                   ($40.58)                ($1,502.69)                    ($309.08)                     $73,759.90
BEGINNING CASH - PER BOOKS                                  0.00                      -40.58                   -1,502.69                       15.63                   ($1,527.64)
RECEIPTS*                                              85,328.25                                                                                                       $85,328.25
TRANSFERS BETWEEN ACCOUNTS                                                                                                                                                  $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL      DEBTOR MFR-2                                                                                                                                                $0.00
CHECKS/OTHER DISBURSEMENTS*                             9,716.00                                                                            324.71                     $10,040.71
ENDING CASH - PER BOOKS                              $75,612.25                   ($40.58)                ($1,502.69)                    ($309.08)                     $73,759.90
                                                                                                                                                                            $0.00
MOR-8                                   *Numbers should balance (match) TOTAL RECEIPTS and                                                              Revised 07/01/98
                                         TOTAL DISBURSEMENTS lines on MOR-7
                                        NOTE: Original Dec 01 balances have been changed
                                        due to further review of entries and reconciliations.
                                                   23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 6 of
                                                                                          17

Piedra Mala Contracting, LLC
Case 23-51662
December 2 through December 31, 2023


Accounts Receivable Collected
Exhibit C
                                   12/7/2023 Payment                           1980 5W Properties LLC                                                                                        Accounts Receivable (A/R)         PMC DIP 6796                                        65,000.00
                                   12/7/2023 Payment                            658 Jimmy Evans Company, Ltd.                                                                                Accounts Receivable (A/R)         PMC DIP 6796                                        20,328.25
                                                                                                                                                                                                                                                                                 $85,328.25

Payments made
Exhibit D
12/08/2023                                  Expense                                  Intuit                                                                                                  Business Banking (5451) - 16      Office Supplies & Software                            -213.20
12/08/2023                                  Expense                                  First Citizens Bank                                                                                     Business Banking (5451) - 16      Bank Charges & Fees                                    -36.00
12/08/2023                                  Expense                                  First Citizens Bank                                                                                     Business Banking (5451) - 16      Bank Charges & Fees                                     -5.02
12/20/2023                                  Expense                                  First Citizens Bank                                                                                     Business Banking (5451) - 16      Bank Charges & Fees                                    -36.00
12/21/2023                                  Expense                                  Harland Clarke                                                                                          Business Banking (5451) - 16      Office Supplies & Software                             -11.99
12/29/2023                                  Expense                                  First Citizens Bank                                                                                     Business Banking (5451) - 16      Bank Charges & Fees                                    -22.50
12/29/2023                                  Benjamin Lambrecht - PR                  Payroll Net                                                                                             PMC DIP 6796                      Payroll                                             -6,400.00
12/29/2023                                  Expense                                  First Citizens Bank                                                                                     PMC DIP 6796                      Bank Charges & Fees                                    -10.00
12/29/2023                                  Aimee Charleston                         Payroll Net                                                                                             PMC DIP 6796                      Payroll                                             -3,306.00
                                                                                                                                                                                                                                                                                 ($10,040.71)

Post Petition Liabilities
Exhibit E
12/19/2023                                  Bill                                    AFCO                                                                                                                                       Insurance:General Liability                          475.83
12/21/2023                                  Bill                                    AT & T                                                                                                                                     Computer Internet Mobile                             532.69
12/05/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Computer Internet Mobile                             535.09
12/07/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Auto and Truck Expense:Fuel                          189.24
12/11/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Equipment Expense                                     58.19
12/11/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Equipment Expense:Off Road Fuel                      175.00
12/11/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Equipment Expense:Off Road Fuel                      175.00
12/11/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Meals 50%                                             34.51
12/14/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Equipment Expense:Off Road Fuel                      125.00
12/14/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Equipment Expense:Off Road Fuel                      125.00
12/18/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Dues & Subscriptions                                  27.68
12/19/2023                                  Bill                                    Ben Lambrecht.                                                                                                                             Auto and Truck Expense:Fuel                          100.00
12/21/2023                                  Bill                      8139          C H Van Gundy Heavy Haul                    Move equipment from Refugio to HEI San Marcos                                                  Equipment Expense:Equipment Haul                   4,021.00
12/21/2023                                  Bill                               4408 CAT Financial CAT Card                                                                                                                     Late Fee                                               5.00
12/27/2023                                  Bill                                    Fleet-Lube                                                                                                                                 -Split-                                            2,402.21
12/08/2023                                  Bill                                    IRS - Payroll Federal Taxes (941/943/944)                                                                                                  Payroll Liabilities:Federal Taxes (941/943/944)    3,212.00
12/27/2023                                  Bill                                    TxTag                                       Ask Ben which tolls should be assigned to which project.                                       Incidentals:Travel & Lodging                         121.00
                                                                                                                                                                                                                                                                                 $12,314.44


A/R Aging Summary
Exhibit F
                                                                         12/1/2023                                                                                              12/31/2023
                                                                       Total                                                                               Total                                        Change
Total Heldenfels Enterprises                                                  0.00                                                                                              125,000.00                       125,000.00
Total 5W Properties LLC                                                  65,000.00                                                                                                    0.00                       (65,000.00)
Total Jimmy Evans Company, Ltd.                                          68,191.34                                                                                               47,863.09                       (20,328.25)
Total Primo Site Solutions, TX                                           42,912.43                                                                                               42,912.43                              -
Total REYTEC Construction Resources, Inc                                 35,390.07                                                                                               35,390.07                              -
Total RWE Construction Company                                            3,500.00                                                                                                3,500.00                              -
Total Tim Little Development (C)                                        153,014.00                                                                                              153,014.00                              -
TOTAL                                                                 $368,007.84                                                                                             $407,679.59                        $39,671.75
    23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 7 of
                                           17


           Central Bank Operations - DAC02
           P.O. Box 27131
           Raleigh, NC 27611-7131



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                                                        686
        04369

        PIEDRA MALA CONTRACTING LLC
        DEBTOR IN POSSESSION
                                                                                        Your Account(s) At A Glance
        301 N AUSTIN ST STE 402
        SEGUIN TX 78155-5532                                                            Checking
                                                                                        Balance             78,918.25+




Statement Period: December 26, 2023          Thru December 31, 2023               Account Number :                 6796

                   Business Banking I
                   Account Number :              6796                                   Enclosures In Statement:    0



Beginning Balance                                      0.00    Statement Period Days                            6
         1 Deposits                          128,240.68+       Average Ledger Balance                  103,579.00+
         0 Other Credits                           0.00
         0 Checks                                  0.00
         3 Other Debits                       49,322.43-
Monthly Service Charge                             0.00
Ending   Balance                              78,918.25+
Deposits To Your Account
Date                      Amount
12-26               128,240.68
Other Debits From Your Account
Date       Description                                                                                        Amount
12-29      Charge Back - Insufficient Funds                                                               42,912.43
12-29      Chargeback Fee                                                                                     10.00
12-29      Transfer Internet       12-29 Seq # 1003                   8796                                 6,400.00
           Total                                                                                          49,322.43
Daily Balance Summary
 Date                      Balance              Date                    Balance
 12-26               128,240.68+                12-29            78,918.25+




            Direct Customer Inquiry Calls To
            Personal 1-888-323-4732
            Business 1-866-322-4249
                                                                                                         Page 1 of 5
      23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 8 of
                                             17
Statement Period: December 26, 2023                                 Thru December 31, 2023                                                  Account Number :                                 6796

                                                             Notice of Change
                                    Disclosure of Business Account and Miscellaneous Fees and Services

                                                The Following Fee and Service Changes for First Citizens Bank
                                                                             Are Effective February 1, 2024


                                              Unless otherwise noted, all other current fees remain unchanged.



Automated Clearinghouse (ACH)
 ACH return item - unauthorized debit ..................................................................................................................................                       $1.50
 ACH notification of change ....................................................................................................................................................               $3.00


Cash Vault
 Coin and currency deposited (per $100) ..............................................................................................................................                         $0.30
 Coin and currency order fee (per order) .............................................................................................................................                         $7.50
 Coin supplied by cash vault (per roll)* .................................................................................................................................                     $0.20
 Currency supplied by cash vault (per $1,000)* ...................................................................................................................                             $1.50


Commercial Advantage
 Plus Maintenance (per month) ..............................................................................................................................................                 $120.00
 Basic maintenance+ (per month) ........................................................................................................................................                      $35.00
 Plus Package Domestic Wire Outgoing (each) ....................................................................................................................                              $13.00


Commercial Advantage Integrated Payments
 Monthly Maintenance Fee (per application) ........................................................................................................................                          $295.00
 Wires (per wire) .......................................................................................................................................................................     $10.00
 Setup Fee 1st payment type no card ...................................................................................................................................                     $1,100.00
 Setup Fee 2nd payment type no card ..................................................................................................................................                       $750.00
 Setup Fee 1st payment type w/card .....................................................................................................................................                       $0.00
 Setup Fee 2nd payment type w/card....................................................................................................................................                         $0.00


Data Exchange Service (DES)
 File transfer fee (per file) .......................................................................................................................................................         $20.00


Lockbox - Retail
 Maintenance (per month) .......................................................................................................................................................             $175.00
 Online decisioning items (each) ............................................................................................................................................                  $0.40
 Online decisioning maintenance fee (per PO Box) .............................................................................................................                               $100.00
 Check only fee (without coupon, per check) ........................................................................................................................                           $0.30
 Checks processed:
     1 - 5,000 (per check) ..........................................................................................................................................................          $0.09
     5,001 - 10,000 (per check) .................................................................................................................................................              $0.08
     Over 10,000 (per check) ....................................................................................................................................................              $0.07
 Deposit preparation (each) ....................................................................................................................................................               $1.50
 Multiple document transaction (each) ..................................................................................................................................                      $0.175
     -   Unbankable Remittance ................................................................................................................................................                $0.30
     -   Correspondence Only ....................................................................................................................................................              $0.30
 Check image capture ..............................................................................................................................................................            $0.03
 Lockbox portal maintenance (per month) ............................................................................................................................                         $100.00
 Document image capture .......................................................................................................................................................                $0.03


Lockbox - Wholesale
 Online decisioning maintenance fee (per month, per box)................................................................................................                                     $100.00
 Online decisioning items (each) ............................................................................................................................................                  $0.40
 Payee match - if more than 20 payees requested (per item, all items) ..........................................................................                                             $0.0115
 Unbankable Remittance .........................................................................................................................................................               $0.40
 Correspondence Only .............................................................................................................................................................             $0.40
 Package preparation (per package) ......................................................................................................................................                      $2.50
 Data entry (per keystroke) .....................................................................................................................................................            $0.0175
 Check image capture (per item) ...........................................................................................................................................                    $0.08




                                                                                                                                                                                     Page 2 of 5
      23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 9 of
                                             17
                                                                                                   04369

                                                                                                  PIEDRA MALA CONTRACTING LLC
               Central Bank Operations - DAC02
                                                                                                  DEBTOR IN POSSESSION
               P.O. Box 27131
               Raleigh, NC 27611-7131
                                                                                                  301 N AUSTIN ST STE 402
                                                                                                  SEGUIN TX 78155-5532



Statement Period: December 26, 2023                                   Thru December 31, 2023                                                     Account Number :                                     6796

Legacy CIT Lockbox Service (Retail and Wholesale)
 Document image capture (per document) ...........................................................................................................................                                        $0.15
 Extended image archive - 3 years (per image) ...................................................................................................................                                         $0.04
 Extended image archive - 7 years (per image) ...................................................................................................................                                         $0.06
 Extended image archive - 10 years (per image) .................................................................................................................                                          $0.06
 Exception manager service (per month) ..............................................................................................................................                                   $25.00


Remote Deposit Capture (RDC)
 Single-feed scanner (once) ....................................................................................................................................................                       $535.00
 Single-feed scanner (5 monthly payments) .........................................................................................................................                                    $125.00
 Single-feed scanner (12 monthly payments) .......................................................................................................................                                      $65.00
 Multiple-feed scanner (once) .................................................................................................................................................                        $975.00
 Multiple-feed scanner (10 monthly payments) ....................................................................................................................                                      $125.00


Miscellaneous Fees
 Coin and currency deposited (per $100) ..............................................................................................................................                                    $0.30
 Coin and currency order fee (per order) .............................................................................................................................                                    $7.50
 Coin supplied by branch (per roll) ........................................................................................................................................                              $0.25
 Currency supplied by branch (per $1,000) ...........................................................................................................................                                     $1.75



             *New fee
             +Basic Commercial Advantage service is not available for new enrollment
                                                                                                                                                                                                    FCB-B (11-12/23)




                                                                 Notice of Change
                                          Disclosure of Products and Fees - International Banking Services

                                                  The Following Fee and Service Changes for First Citizens Bank
                                                                                Are Effective February 1, 2024


                                               Unless otherwise noted, all other current fees remain unchanged.



Foreign Check
 Collection ($250 US dollar minimum value) .........................................................................................................                                $75.00 + expenses


Paying & Receiving
 Drafts ........................................................................................................................................................................................   Not offered
 Outgoing International Wire Transfer - Commercial
   In U.S. Dollars
     Branch Initiated ..................................................................................................................................................................               $100.00
   In Foreign Currency
     Commercial Advantage/FX Envoy (up to $10,000 US $ worth) ....................................................................................                                                 No charge
     Commercial Advantage/FX Envoy (over $10,000 US $ worth) .....................................................................................                                                 No charge
     Digital Banking Business ...................................................................................................................................................                  No charge


Previously-disclosed Paying & Receiving service no longer offered
 Telephone notification ............................................................................................................................................................               Not offered

                                                                                                                                                                                                    IBS-B (11-12/23)




                                                                                                                                                                                            Page 3 of 5
       23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 10 of
                                               17



Statement Period: December 26, 2023                   Thru December 31, 2023                      Account Number :                      6796
                                  FOLLOW THESE EASY STEPS TO BALANCE YOUR CHECKING ACCOUNT
1.    Write here the ending balance shown
      on the front of this statement.                                 1     $                              B. Outstanding Checks/Debits
2.    Add deposits not credited in this
      statement. (Use table A.)                                       2    +$                              Number          Amount
3.    Total of lines 1 and 2.
4.    Checks and other debits outstanding                             3    =$
      not charged to your account.
      (Use table B.)                                                  4    -$
5.    Subtract line 4 from line 3.
      This should be your current                                     5    =$
      checkbook balance.
                                                                    A. Deposits/Credits

     Note: If your statement does not balance,              Date                Amount
     please check to be sure you have entered in
     your check register all automatic transactions
     (service charges, advances, payments, drafts
     etc.) shown on the front of your statement.
     Please notify the Bank promptly of any
     discrepancy in your account statement.

                                                            Total Amount                                 Total Amount


How to Compute Interest Charges on Your Line of Credit.         We figure the interest charge on your account by applying the periodic rate to
your "average daily balance" (including current transactions). To get the "average daily balance," we first determine the daily balance of
your Account each day. We take the beginning balance of your account each day, add any new advances and charges, and subtract any new
payments or credits and any unpaid interest charges, credit insurance premiums, late charges and other charges that have been posted to
the account. These calculations give us the daily balance. Then, we add up all the daily balances for the billing cycle and divide the total by
the number of days in the billing cycle. This gives us the "average daily balance." Next, we multiply the "average daily balance" by the
daily periodic rate applicable to your account. The daily periodic rate is determined by dividing the Annual Percentage Rate by the number
of days in the year. That result is then multiplied by the number of days in the billing cycle to obtain the monthly interest charge. Automatic
payment debits are posted to your account after your "average daily balance" is calculated. Interest charges and any credit insurance
premiums that accrue during each billing cycle are added to the balance of your account on the last day of the billing cycle prior to the
calculation of your minimum payment.

Variable Rate.              Unless the terms of your revolving line of credit specify that the rate is fixed, your daily periodic rate and Annual
Percentage Rate are variable rates subject to change each month.

What To Do If You Think You Find A Mistake On Your Statement (Consumer Accounts Only).                   If you think there is an error on your
statement, write to us at the address shown on page one of your statement. In your letter, give us the following information: (1) Account
information: Your name and account number. (2) Dollar amount: The dollar amount of the suspected error. (3) Description of Problem: If
you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake. You must contact us within
60 days after the error appeared on your statement. You must notify us of any potential errors in writing. You may call us, but if you do we
are not required to investigate any potential errors and you may have to pay the amount in question. While we investigate whether or not
there has been an error, the following are true: (1) We cannot try to collect the amount in question, or report you as delinquent on that
amount; (2) The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we
determine that we made a mistake, you will not have to pay the amount in question or any interest or other fees related to that amount; (3)
While you do not have to pay the amount in question, you are responsible for the remainder of your balance; (4) We can apply any unpaid
amount against your credit limit.

Your Rights If You Are Dissatisfied With Your Credit Card Purchases (Consumer Accounts Only).           This section applies if you access your
line of credit using a credit card. If you are dissatisfied with the goods or services that you have purchased with your credit card, and you
have tried in good faith to correct the problem with the merchant, you may have the right not to pay the remaining amount due on the
purchase. To use this right, all of the following must be true: (1) The purchase must have been made in your home state or within 100 miles
of your current mailing address, and the purchase price must have been more than $50. (Note: Neither of these are necessary if your
purchase was based on an advertisement we mailed to you, or if we own the company that sold you the goods or services.) (2) You must
have used your credit card for the purchase. Purchases made with cash advances from an ATM or with a check that accesses your credit
card account do not qualify. (3) You must not yet have fully paid for the purchase. If all of the criteria above are met and you are still
dissatisfied with the purchase, contact us in writing at Credit Card Center-RVA01, P.O. Box 1580, Roanoke, VA 24007-9903; or by calling our
Customer Contact Center at 1.888.323.4732. If you call, we may require you to provide us with a written statement concerning your
dissatisfaction with the purchase. While we investigate, the same rules apply to the disputed amount as discussed above. After we finish
our investigation, we will tell you our decision. At that point, if we think you owe an amount and you do not pay, we may report you as
delinquent.

Liability for Unauthorized Use of Credit Card (Consumer Accounts Only).         If you notice the loss or theft of your credit card or a possible
unauthorized use of your card, you should write to us immediately at: Credit Card Center-RVA01, P.O. Box 1580, Roanoke, VA 24007-9903, or
call us at our Customer Contact Center, 1.888.323.4732. You will not be liable for any unauthorized use that occurs after you notify us. You
may, however, be liable for unauthorized use that occurs before your notice to us. In any case, your liability will not exceed $50.

Credit History Errors.             If you believe we have inaccurately reported information about your account history to a consumer reporting
agency, please notify us in writing at the Bank address stated on page one of your statement.

Prompt Crediting of Payments.           To receive credit for a payment on the date we receive the payment, we must receive your payment
prior to 5:00 p.m. on a Bank business day (any day except Saturday, Sunday or a bank holiday). If paying at a branch or by mail, then
payments must include the payment coupon. In addition, if paying by mail, payment must be mailed to the specific address furnished by the
Bank. Payments received at any of our ATMs; payments received on a business day after 5:00 p.m.; payments received at a branch or by
mail without a coupon; and, payments received on a day that is not a Bank business day, will be credited to your account no later than the
next Bank business day.

Preauthorized Deposits.        If direct deposits are made to your account at least every 60 days by the same person or entity, you can call
us at the telephone number shown on page one of your statement to find out whether the deposit has been made.




                                                                                                                                Page 4 of 5
    23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 11 of
                                            17
                                                                    04369




Statement Period: December 26, 2023              Thru December 31, 2023                            Account Number :                     6796
In Case of Errors or Questions About Your Electronic Transfers (Consumer Accounts Only).               If you think your statement or receipt is
wrong or if you need more information about a transfer on a statement or receipt, telephone or write us as soon as you can at the telephone
number or address which appears on page one of your statement. We must hear from you no later than 60 days after we sent you the
FIRST statement on which the error or problem appeared. You must: (1) tell us your name and account number; (2) describe the error or the
transfer you are unsure about (including the date it occurred), and explain as clearly as you can why you believe it is in error or why you
need more information; and (3) tell us the dollar amount of the suspected error. We will investigate your complaint and correct any error
promptly. We may take up to 45 days to complete our investigation (90 days for transfers initiated outside the U.S. or resulting from
point-of-sale debit-card transactions). If we take more than 10 business days (5 days for certain Visa  ® Check Card transactions; 20 days for
certain new accounts), we will recredit your account for the amount you think is in error, so that you will have the use of the money during
the time it takes to complete our investigation.

Credit Limit.            When you make a payment on your account, we may, at our option, delay advancing additional funds from your line of
credit in reliance on that payment until we confirm that your payment has been fully and finally collected. If we placed a hold on a credited
payment pending our final determination of collectability, the "Available Credit" amount on the front page of this statement will not reflect this
payment and funds in the amount of the hold will not be available to you for subsequent advances until we confirm that your payment has
been fully and finally collected.

Interest Charge.           The term "Interest Charge" on your statement has the same meaning as the term "Finance Charge" that may appear
in your revolving line of credit documents.




                                                                                                                                Page 5 of 5
   23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 12 of
                                           17


           Central Bank Operations - DAC02
           P.O. Box 27131
           Raleigh, NC 27611-7131



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        PIEDRA MALA CONTRACTING LLC
        DEBTOR IN POSSESSION
                                                                                           Your Account(s) At A Glance
        CASE NO 23 51662
        402 SPRINGS ST                                                                     Checking

        SEGUIN TX 78155-7204                                                               Balance                    309.08-




Statement Period: December 1 , 2023          Thru December 31, 2023                  Account Number :                 5451

                   Business Banking
                   Account Number :               5451                                     Enclosures In Statement:    0



Beginning Balance                                   15.63+        Statement Period Days                            31
         0 Deposits                                  0.00         Average Ledger Balance                       199.00-
         0 Other Credits                             0.00
         0 Checks                                    0.00
         7 Other Debits                            324.71-
Monthly Service Charge                               0.00
Ending   Balance                                   309.08-
Other Debits From Your Account
Date       Description                                                                                           Amount
12-08      POS Sig 12/08 Visa #7083 1Password Toronto CD                                                           4.92
12-08      FDR Debit Card Visa Debit Foreign Transaction Fee 1Password CD                                          0.10
12-08      Intuit * Qbooks Onl ***8455                                                                           213.20
12-08      Overdraft Charge                                                                                       36.00
12-20      Insufficient Funds Fee from  923                                                                       36.00
12-21      Harland Clarke Chk Orders **mu*******0800                                                              11.99
12-29      Digital Banking Fees                                                                                   22.50
           Total                                                                                                 324.71
Daily Balance Summary
 Date                      Balance              Date                    Balance
 12-08                     238.59-              12-21                   286.58-
 12-20                     274.59-              12-29                   309.08-




            Direct Customer Inquiry Calls To
            Personal 1-888-323-4732
            Business 1-866-322-4249
                                                                                                            Page 1 of 5
    23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 13 of
                                            17
Statement Period: December 1 , 2023                                Thru December 31, 2023                                                   Account Number :                                 5451

                                                             Notice of Change
                                    Disclosure of Business Account and Miscellaneous Fees and Services

                                                The Following Fee and Service Changes for First Citizens Bank
                                                                             Are Effective February 1, 2024


                                              Unless otherwise noted, all other current fees remain unchanged.



Automated Clearinghouse (ACH)
 ACH return item - unauthorized debit ..................................................................................................................................                       $1.50
 ACH notification of change ....................................................................................................................................................               $3.00


Cash Vault
 Coin and currency deposited (per $100) ..............................................................................................................................                         $0.30
 Coin and currency order fee (per order) .............................................................................................................................                         $7.50
 Coin supplied by cash vault (per roll)* .................................................................................................................................                     $0.20
 Currency supplied by cash vault (per $1,000)* ...................................................................................................................                             $1.50


Commercial Advantage
 Plus Maintenance (per month) ..............................................................................................................................................                 $120.00
 Basic maintenance+ (per month) ........................................................................................................................................                      $35.00
 Plus Package Domestic Wire Outgoing (each) ....................................................................................................................                              $13.00


Commercial Advantage Integrated Payments
 Monthly Maintenance Fee (per application) ........................................................................................................................                          $295.00
 Wires (per wire) .......................................................................................................................................................................     $10.00
 Setup Fee 1st payment type no card ...................................................................................................................................                     $1,100.00
 Setup Fee 2nd payment type no card ..................................................................................................................................                       $750.00
 Setup Fee 1st payment type w/card .....................................................................................................................................                       $0.00
 Setup Fee 2nd payment type w/card....................................................................................................................................                         $0.00


Data Exchange Service (DES)
 File transfer fee (per file) .......................................................................................................................................................         $20.00


Lockbox - Retail
 Maintenance (per month) .......................................................................................................................................................             $175.00
 Online decisioning items (each) ............................................................................................................................................                  $0.40
 Online decisioning maintenance fee (per PO Box) .............................................................................................................                               $100.00
 Check only fee (without coupon, per check) ........................................................................................................................                           $0.30
 Checks processed:
     1 - 5,000 (per check) ..........................................................................................................................................................          $0.09
     5,001 - 10,000 (per check) .................................................................................................................................................              $0.08
     Over 10,000 (per check) ....................................................................................................................................................              $0.07
 Deposit preparation (each) ....................................................................................................................................................               $1.50
 Multiple document transaction (each) ..................................................................................................................................                      $0.175
     -   Unbankable Remittance ................................................................................................................................................                $0.30
     -   Correspondence Only ....................................................................................................................................................              $0.30
 Check image capture ..............................................................................................................................................................            $0.03
 Lockbox portal maintenance (per month) ............................................................................................................................                         $100.00
 Document image capture .......................................................................................................................................................                $0.03


Lockbox - Wholesale
 Online decisioning maintenance fee (per month, per box)................................................................................................                                     $100.00
 Online decisioning items (each) ............................................................................................................................................                  $0.40
 Payee match - if more than 20 payees requested (per item, all items) ..........................................................................                                             $0.0115
 Unbankable Remittance .........................................................................................................................................................               $0.40
 Correspondence Only .............................................................................................................................................................             $0.40
 Package preparation (per package) ......................................................................................................................................                      $2.50
 Data entry (per keystroke) .....................................................................................................................................................            $0.0175
 Check image capture (per item) ...........................................................................................................................................                    $0.08




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     23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 14 of
                                             17
                                                                                                   04308

                                                                                                  PIEDRA MALA CONTRACTING LLC
               Central Bank Operations - DAC02
                                                                                                  DEBTOR IN POSSESSION
               P.O. Box 27131
               Raleigh, NC 27611-7131
                                                                                                  CASE NO 23 51662
                                                                                                  402 SPRINGS ST
                                                                                                  SEGUIN TX 78155-7204

Statement Period: December 1 , 2023                                   Thru December 31, 2023                                                     Account Number :                                     5451

Legacy CIT Lockbox Service (Retail and Wholesale)
 Document image capture (per document) ...........................................................................................................................                                        $0.15
 Extended image archive - 3 years (per image) ...................................................................................................................                                         $0.04
 Extended image archive - 7 years (per image) ...................................................................................................................                                         $0.06
 Extended image archive - 10 years (per image) .................................................................................................................                                          $0.06
 Exception manager service (per month) ..............................................................................................................................                                   $25.00


Remote Deposit Capture (RDC)
 Single-feed scanner (once) ....................................................................................................................................................                       $535.00
 Single-feed scanner (5 monthly payments) .........................................................................................................................                                    $125.00
 Single-feed scanner (12 monthly payments) .......................................................................................................................                                      $65.00
 Multiple-feed scanner (once) .................................................................................................................................................                        $975.00
 Multiple-feed scanner (10 monthly payments) ....................................................................................................................                                      $125.00


Miscellaneous Fees
 Coin and currency deposited (per $100) ..............................................................................................................................                                    $0.30
 Coin and currency order fee (per order) .............................................................................................................................                                    $7.50
 Coin supplied by branch (per roll) ........................................................................................................................................                              $0.25
 Currency supplied by branch (per $1,000) ...........................................................................................................................                                     $1.75



             *New fee
             +Basic Commercial Advantage service is not available for new enrollment
                                                                                                                                                                                                    FCB-B (11-12/23)




                                                                 Notice of Change
                                          Disclosure of Products and Fees - International Banking Services

                                                  The Following Fee and Service Changes for First Citizens Bank
                                                                                Are Effective February 1, 2024


                                               Unless otherwise noted, all other current fees remain unchanged.



Foreign Check
 Collection ($250 US dollar minimum value) .........................................................................................................                                $75.00 + expenses


Paying & Receiving
 Drafts ........................................................................................................................................................................................   Not offered
 Outgoing International Wire Transfer - Commercial
   In U.S. Dollars
     Branch Initiated ..................................................................................................................................................................               $100.00
   In Foreign Currency
     Commercial Advantage/FX Envoy (up to $10,000 US $ worth) ....................................................................................                                                 No charge
     Commercial Advantage/FX Envoy (over $10,000 US $ worth) .....................................................................................                                                 No charge
     Digital Banking Business ...................................................................................................................................................                  No charge


Previously-disclosed Paying & Receiving service no longer offered
 Telephone notification ............................................................................................................................................................               Not offered

                                                                                                                                                                                                    IBS-B (11-12/23)




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       23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 15 of
                                               17



Statement Period: December 1 , 2023                   Thru December 31, 2023                      Account Number :                      5451
                                  FOLLOW THESE EASY STEPS TO BALANCE YOUR CHECKING ACCOUNT
1.    Write here the ending balance shown
      on the front of this statement.                                  1     $                             B. Outstanding Checks/Debits
2.    Add deposits not credited in this
      statement. (Use table A.)                                        2    +$                             Number          Amount
3.    Total of lines 1 and 2.
4.    Checks and other debits outstanding                              3    =$
      not charged to your account.
      (Use table B.)                                                   4    -$
5.    Subtract line 4 from line 3.
      This should be your current                                      5    =$
      checkbook balance.
                                                                     A. Deposits/Credits

     Note: If your statement does not balance,               Date                Amount
     please check to be sure you have entered in
     your check register all automatic transactions
     (service charges, advances, payments, drafts
     etc.) shown on the front of your statement.
     Please notify the Bank promptly of any
     discrepancy in your account statement.

                                                             Total Amount                                Total Amount


How to Compute Interest Charges on Your Line of Credit.         We figure the interest charge on your account by applying the periodic rate to
your "average daily balance" (including current transactions). To get the "average daily balance," we first determine the daily balance of
your Account each day. We take the beginning balance of your account each day, add any new advances and charges, and subtract any new
payments or credits and any unpaid interest charges, credit insurance premiums, late charges and other charges that have been posted to
the account. These calculations give us the daily balance. Then, we add up all the daily balances for the billing cycle and divide the total by
the number of days in the billing cycle. This gives us the "average daily balance." Next, we multiply the "average daily balance" by the
daily periodic rate applicable to your account. The daily periodic rate is determined by dividing the Annual Percentage Rate by the number
of days in the year. That result is then multiplied by the number of days in the billing cycle to obtain the monthly interest charge. Automatic
payment debits are posted to your account after your "average daily balance" is calculated. Interest charges and any credit insurance
premiums that accrue during each billing cycle are added to the balance of your account on the last day of the billing cycle prior to the
calculation of your minimum payment.

Variable Rate.              Unless the terms of your revolving line of credit specify that the rate is fixed, your daily periodic rate and Annual
Percentage Rate are variable rates subject to change each month.

What To Do If You Think You Find A Mistake On Your Statement (Consumer Accounts Only).                   If you think there is an error on your
statement, write to us at the address shown on page one of your statement. In your letter, give us the following information: (1) Account
information: Your name and account number. (2) Dollar amount: The dollar amount of the suspected error. (3) Description of Problem: If
you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake. You must contact us within
60 days after the error appeared on your statement. You must notify us of any potential errors in writing. You may call us, but if you do we
are not required to investigate any potential errors and you may have to pay the amount in question. While we investigate whether or not
there has been an error, the following are true: (1) We cannot try to collect the amount in question, or report you as delinquent on that
amount; (2) The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we
determine that we made a mistake, you will not have to pay the amount in question or any interest or other fees related to that amount; (3)
While you do not have to pay the amount in question, you are responsible for the remainder of your balance; (4) We can apply any unpaid
amount against your credit limit.

Your Rights If You Are Dissatisfied With Your Credit Card Purchases (Consumer Accounts Only).           This section applies if you access your
line of credit using a credit card. If you are dissatisfied with the goods or services that you have purchased with your credit card, and you
have tried in good faith to correct the problem with the merchant, you may have the right not to pay the remaining amount due on the
purchase. To use this right, all of the following must be true: (1) The purchase must have been made in your home state or within 100 miles
of your current mailing address, and the purchase price must have been more than $50. (Note: Neither of these are necessary if your
purchase was based on an advertisement we mailed to you, or if we own the company that sold you the goods or services.) (2) You must
have used your credit card for the purchase. Purchases made with cash advances from an ATM or with a check that accesses your credit
card account do not qualify. (3) You must not yet have fully paid for the purchase. If all of the criteria above are met and you are still
dissatisfied with the purchase, contact us in writing at Credit Card Center-RVA01, P.O. Box 1580, Roanoke, VA 24007-9903; or by calling our
Customer Contact Center at 1.888.323.4732. If you call, we may require you to provide us with a written statement concerning your
dissatisfaction with the purchase. While we investigate, the same rules apply to the disputed amount as discussed above. After we finish
our investigation, we will tell you our decision. At that point, if we think you owe an amount and you do not pay, we may report you as
delinquent.

Liability for Unauthorized Use of Credit Card (Consumer Accounts Only).         If you notice the loss or theft of your credit card or a possible
unauthorized use of your card, you should write to us immediately at: Credit Card Center-RVA01, P.O. Box 1580, Roanoke, VA 24007-9903, or
call us at our Customer Contact Center, 1.888.323.4732. You will not be liable for any unauthorized use that occurs after you notify us. You
may, however, be liable for unauthorized use that occurs before your notice to us. In any case, your liability will not exceed $50.

Credit History Errors.             If you believe we have inaccurately reported information about your account history to a consumer reporting
agency, please notify us in writing at the Bank address stated on page one of your statement.

Prompt Crediting of Payments.           To receive credit for a payment on the date we receive the payment, we must receive your payment
prior to 5:00 p.m. on a Bank business day (any day except Saturday, Sunday or a bank holiday). If paying at a branch or by mail, then
payments must include the payment coupon. In addition, if paying by mail, payment must be mailed to the specific address furnished by the
Bank. Payments received at any of our ATMs; payments received on a business day after 5:00 p.m.; payments received at a branch or by
mail without a coupon; and, payments received on a day that is not a Bank business day, will be credited to your account no later than the
next Bank business day.

Preauthorized Deposits.        If direct deposits are made to your account at least every 60 days by the same person or entity, you can call
us at the telephone number shown on page one of your statement to find out whether the deposit has been made.




                                                                                                                                Page 4 of 5
    23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 16 of
                                            17
                                                                    04308




Statement Period: December 1 , 2023             Thru December 31, 2023                             Account Number :                     5451
In Case of Errors or Questions About Your Electronic Transfers (Consumer Accounts Only).               If you think your statement or receipt is
wrong or if you need more information about a transfer on a statement or receipt, telephone or write us as soon as you can at the telephone
number or address which appears on page one of your statement. We must hear from you no later than 60 days after we sent you the
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transfer you are unsure about (including the date it occurred), and explain as clearly as you can why you believe it is in error or why you
need more information; and (3) tell us the dollar amount of the suspected error. We will investigate your complaint and correct any error
promptly. We may take up to 45 days to complete our investigation (90 days for transfers initiated outside the U.S. or resulting from
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certain new accounts), we will recredit your account for the amount you think is in error, so that you will have the use of the money during
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credit in reliance on that payment until we confirm that your payment has been fully and finally collected. If we placed a hold on a credited
payment pending our final determination of collectability, the "Available Credit" amount on the front page of this statement will not reflect this
payment and funds in the amount of the hold will not be available to you for subsequent advances until we confirm that your payment has
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in your revolving line of credit documents.




                                                                                                                                Page 5 of 5
23-51662-mmp Doc#47 Filed 01/22/24 Entered 01/22/24 18:33:36 Main Document Pg 17 of
                                        17
